Case 8:19-cv-01257-JFW-PJW Document 40 Filed 09/05/19 Page 1 of 1 Page ID #:297




 1
 2
 3
 4                                         NOTE: CHANGES MADE BY THE COURT
 5
 6
 7
                                  UNITED STATES DISTRICT COURT
 8
                   CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 9
10                                                          Case No. 8:19-cv-01257-JFW-PJWx
     Bryce Abbink, individually and on behalf of all
11   others similarly situated,
                                                           ORDER GRANTING JOINT
12                                  Plaintiff,             STIPULATION TO EXTEND THE
                                                           DEADLINE TO FILE PLAINTIFF’S
13   v.                                                    MOTION FOR CLASS CERTIFICATION
14                                                          Hon. John F. Walter
     Experian Information Solutions, Inc., an Ohio
15   corporation, Lend Tech Loans, Inc., a California
     corporation, and Unified Document Services,            Complaint filed: June 21, 2019
16   LLC, a California Limited Liability Company,
17                                  Defendant.
18
19
20          The Court, having considered the stipulation of Plaintiff Bryce Abbink (“Plaintiff”) and

21   Defendant Experian Information Solutions, Inc. (“Experian”) to extend the deadline to file

22   Plaintiff’s Motion for Class Certification, the declaration of Taylor T. Smith in support of the

23   stipulation, and for good cause appearing, hereby orders that Plaintiff shall file his Motion for

24   Class Certification on or before December 16, 2019.

25
26   IT IS SO ORDERED.

27   Date: September 5, 2019                               Hon. John F. Walter
                                                           United States District Judge
28
                                                 -1-
